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March 3, 2025

VIA ECF

Jarrett B. Perlow
Circuit Executive and Clerk of Court
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, D.C. 20439


Re:     Acadia Pharm. Inc. v. Aurobindo Pharma Ltd., No. 24-1401 (Fed. Cir.)


Dear Mr. Perlow:

        Appellee Acadia Pharmaceuticals Inc. respectfully responds to Appellants’ supplemental
authority and request for initial hearing en banc letter (Dkt. 27) regarding this Court’s unanimous
obviousness-type double patenting (“ODP”) decision in Allergan USA, Inc. v. MSN Lab'ys Priv.
Ltd., 111 F.4th 1358 (Fed. Cir. 2024).

        In Allergan, this Court held that ODP “prevent[s] patentees from obtaining a second patent
on a patentably indistinct invention to effectively extend the life of a first patent to that subject
matter.” Id. at 1369. Thus, “the first patent to ever be filed, and to ever issue, with claims to” an
invention is “not subject to ODP … because it is not a second, later expiring patent for the same
invention.” Id. As Appellants’ request for initial hearing en banc acknowledges, Allergan controls
here and supports affirming the district court’s decision. Id. at 1368-71.

        Appellants’ request for initial hearing en banc, made 89 days after Sun’s petition for
rehearing en banc was withdrawn, is improper. Fed. R. App. P. 40(g), (b)(2), (c), and (d)(2)-(5);
Fed. Cir. R. 40(a)(3)-(5), (b)(2), (c)(2), and (f)(2). Additionally, Appellants forfeited their “multiple
assignees” argument by not raising it in their opening brief. See, e.g., DDR Holdings, LLC v.
Priceline.com LLC, 122 F.4th 911, 918 (Fed. Cir. 2024); Dkt. 27 (only citing to “Reply Brief for
Appellant [sic] at 9-11, Acadia, No. 24-1401”); Dkt. 9 (Opening Brief for Appellants). Furthermore,
Appellants’ request amounts to nothing more than “an improper incorporation by reference” of the
forfeited argument in their Reply Brief, which is a violation of Fed. R. App. P. 28(j) and a
“fundamentally unfair” attempt “to use incorporation to exceed word count.” Medtronic, Inc. v.
Teleflex Life Scis. Ltd., 86 F.4th 902, 906-07 (Fed. Cir. 2023). Regardless, Appellants fall short
of meeting the exacting standards for en banc review. Appellants fail to identify any legal conflict
between Allergan and this Court’s or Supreme Court precedent. Fed. R. App. P. 40(b)(2). Nor
do they identify any precedent-setting questions of exceptional importance. Id.
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While Acadia does not believe that additional briefing is necessary, Acadia would certainly provide
such briefing if requested by the Court.

Respectfully submitted,

/s/ Chad Peterman

Chad Peterman

Counsel for Appellee
Acadia Pharmaceuticals Inc.



cc: Counsel of Record (via ECF)
